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                              DISTRICT OF NEW JERSEY




                                     CIVIL ACTION NO.
     IN RE: JOHNSON & JOHNSON TALCUM 3:16-md-2738-FLW-LGHG
     POWDER PRODUCTS MARKETING,
     SALES PRACTICES, AND PRODUCTS   MDL NO. 2738
     LIABILITY LITIGATION


     THIS DOCUMENT RELATES TO ALL
     CASES


                       CASE MANAGEMENT ORDER NO. 7(A)

        (ORDER ESTABLISHING THE TALC (MDL NO. 2738) COMMON
       BENEFIT FEE AND EXPENSE ACCOUNTS TO COMPENSATE AND
         REIMBURSE ATTORNEYS FOR SERVICES PERFORMED AND
        EXPENSES INCURRED FOR CASE ADMINISTRATION AND THE
                         COMMON BENEFIT)
          THIS ORDER is entered to supplement Case Management Order No. 7

    (“CMO 7”), entered on August 9, 2017 in this litigation. CMO 7 remains in full force

    and effect and is hereby supplemented as follows:

          1.     The Court enters this Order: (1) to avoid unnecessary conflicts and

    expense, conserve judicial resources, and expedite the disposition of all cases by

    enabling the coordination of this multidistrict litigation (MDL) with cases separately

    pending in state courts that are also litigating claims involving Johnson & Johnson’s

    Baby Powder and/or Shower to Shower products (“Talcum Powder Products”)

    which share common issues and involve common discovery; (2) to provide for the
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    fair and equitable sharing among Plaintiffs and their counsel of the burden of

    services performed and expenses incurred by attorneys acting for the common

    benefit of all Plaintiffs in this complex litigation; and (3) to enable Plaintiffs’

    attorneys who desire to obtain the work-product of the Plaintiffs’ Steering

    Committee (“PSC”) and the work-product of others who perform “Common Benefit

    Work” that is consistent with the below provisions (collectively, and as defined

    infra, the Common Benefit Work Product “CBWP”), an opportunity to obtain such

    work product, upon an agreement by Plaintiffs’ attorneys who are Participating

    Counsel, as defined infra, that the claims of their clients, whether filed as cases or

    not, shall be subject to an assessment that will be funding the Talc Common Benefit

    Fee Account (“TCBFA”) and funding a second fund designated the Talc Common

    Benefit Expense Account (“TCBEA”) as described in this Order.

    I.    GOVERNING PRINCIPLES - THE COMMON BENEFIT DOCTRINE

          2.     The governing principles are derived from the United States Supreme

    Court’s common benefit doctrine, as established in Trustees v. Greenough, 105 U.S.

    527 (1881), refined in, inter alia, Central Railroad & Banking Co. v. Pettus, 113

    U.S. 116 (1884), Sprague v. Ticonic National Bank, 307 U.S. 161 (1939), Mills v.

    Electric Auto-Lite Co., 396 U.S. 375 (1970), and Boeing Co. v. Van Gemert, 444

    U.S. 472 (1980), and approved and implemented in the MDL context in, inter alia,

    In re MGM Grand Hotel Fire Litigation, 660 F. Supp. 522, 525-29 (D. Nev. 1987),



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    In re Air Crash Disaster at Florida Everglades on December 29, 1972, 549 F.2d

    1006, 1019-21 (5th Cir. 1977), In re: Diet Drugs (Phentermine/Ferfluramine/

    Dexfenfluramine) Prods. Liab. Litig., MDL No. 1203, 2001 WL 497313 (E.D. Pa.

    May 9, 2001), In re Zyprexa Prods. Liab., 594 F.3d 113 (2d Cir. 2010), In re: Vioxx

    Prods. Liab. Litig., MDL No. 1657 (E.D. La. Aug. 4, 2005) and In re Xarelto

    (Rivaroxaban) Prod. Liab. Litig., MDL No. 2592 (E.D. La. March 23, 2020).

          3.    The Court is applying the common benefit doctrine so that attorneys

    who work for the common good of all plaintiffs can be compensated for their work

    in recognition that having a procedure for compensating common benefit attorneys

    is necessary for MDLs to be an effective means for the timely and economic

    resolution of cases. Management of complex MDLs would be impossible without

    court-appointed counsel to act as a steering committee to manage the case. If court-

    appointed counsel “are to be an effective tool, the court must have the means at its

    disposal to order appropriate compensation for them. The court’s power is illusory

    if it is dependent upon [court-appointed] counsel’s performing the duties desired of

    them for no additional compensation.” Everglades, 549 F.2d at 1012. Thus, in

    consolidated MDL proceedings, it is standard to order that a percentage of all

    recoveries be contributed to a fund to compensate attorneys who provide work for

    the common benefit of all plaintiffs. Manual for Complex Litigation (Fourth) §

    20.312 (2004) (“MDL judges generally issue orders directing the defendants who



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    settle MDL-related cases contribute a fixed percentage of the settlement to a general

    fund to pay national counsel.”).

    II.   APPLICATION AND SCOPE

          4.     This Order applies to cases and claims of ovarian cancer injuries,

    including death cases and claims from Talcum Powder Products. This Order applies

    to any claims for a request for a fee or claims for reimbursement of expenses

    emanating from those cases and claims. Accordingly, this Order applies to:

                 a.    All cases now or hereafter subject to the jurisdiction of this Court
                       in this MDL litigation, regardless of whether the case is resolved
                       while the case is pending before this Court or is resolved after a
                       remand from this Court to the transferor federal court;

                 b.    All cases and/or claims settled pursuant to an MDL-supervised
                       settlement agreement between the parties, which may include
                       cases in any state court and claims that are not filed but
                       participate in any MDL-supervised settlement agreement;

                 c.    All cases and/or claims of any of the ovarian cancer clients of
                       any counsel who signed or are deemed to have signed the
                       “Participation Agreement” that is attached to this Order as
                       Exhibit A hereto, whether case was filed, unfiled or tolled,
                       including cases filed in state court; and,

                 d.    All cases and/or claims of any ovarian cancer clients of any
                       counsel who received, used, or benefited from the Common
                       Benefit Work Product.




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    III.   PLAINTIFFS’ LITIGATION FEE AND EXPENSE ACCOUNTS

           A.   ESTABLISHING THE TALC FEE AND EXPENSE ACCOUNTS
                AND APPOINTMENT OF THE ADMINISTRATOR OF THE
                ACCOUNTS

           5.   In CMO 7, the Court previously approved the retention of Alan B.

    Winikur, CPA, ABF, CFF to perform the necessary functions of receiving time and

    expense submissions from attorneys and law firms claiming to have performed

    common benefit work in the case. CMO 7, para. II, B (3). The Court reaffirms that

    approval and appoints Alan B. Winikur, CPA, ABF, CFF to serve as the

    “Administrator” of the two insured, interest-bearing accounts to be established to

    receive and disburse funds as provided in this Order. The first account to be

    established shall be designated the Talc Common Benefit Fee Account (“TCBFA”),

    and the second account to be established shall be designated the Talc Common

    Benefit Expense Account (“TCBEA”) (collectively, the “Accounts”). The Court

    directs the Administrator to hold all funds deposited into the Accounts, subject to

    the control of this Court. No disbursement of any money from the Accounts shall be

    made unless ordered by this Court.

           B.   ADMINISTRATION OF THE ACCOUNTS

           6.   The Accounts shall be administered in accordance with this Order and

    subsequent orders that may be entered by the Court. The Accounts shall be

    established at a commercial bank selected by the Administrator. That bank shall be



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    the "Escrow Agent" to hold the funds, subject to the requirements described in this

    Order. The funds deposited into the Accounts shall be from assessments, as defined

    infra., on cases and claims that are subject to this Order, and on the cases and claims

    of attorneys who have signed or are deemed to have signed the Participation

    Agreement as defined below. The funds held in the Accounts are subject to the

    direction of this Court and no disbursement shall be made from the Accounts other

    than by order of this Court pursuant to a Fee and Expense Petition (“Petition”) that

    shall be filed of record requesting an award of fees and reimbursement of expenses

    from the Accounts. No Petition shall be filed without leave of Court. No party or

    attorney has any right to make any claim against any of the amounts held in the

    Accounts except to the extent this Court issues an order directing the disbursement

    of any amounts to such a person, attorney, or law firm, and in such case, the rights

    of any such party or person, attorney, or law firm are limited to the amount ordered

    by the Court to be disbursed.

          7.     The amounts held in the Accounts shall not constitute the separate

    property of any party or person, attorney, or law firm, or be subject to garnishment

    or attachment for the debts of any party or person, attorney, or law firm; provided,

    however, that as to amounts that may be ordered by the Court to be disbursed to a

    party or person, attorney, or law firm, that upon the entry of such an order, the

    specific amounts so ordered to be disbursed may then be subject to garnishment or



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    attachment for the debts of the party or person, attorney, or law firm that the Court's

    order identified for the disbursement, limited to the amount of the disbursement so

    ordered. These limitations do not preclude a party or person, attorney, or law firm

    from transferring, assigning, or creating a security interest in potential disbursements

    from the Accounts to which such party or person, attorney, or law firm may be

    entitled as determined by the Court and to the extent permitted by applicable state

    laws; provided, however, that no notice of lien or security interest in said potential

    disbursements or of a transfer or assignment of a right of said potential

    disbursements shall be effective except upon a filing of such a notice of lien and

    security interest in this Court, and upon notice of lien or security interest served upon

    the Administrator of the Accounts.

             8.   In connection with his services, the Administrator of the Accounts

    shall:

                  a.    have all such power and authority over the Accounts as necessary
                        or convenient to exercise the authority granted herein;

                  b.    keep and report periodically to this Court as and to the extent
                        requested by the Court, an accounting of the funds received,
                        maintained and disbursed relating to the Accounts;

                  c.    have the authority to instruct the Escrow Agent with respect to
                        permitted investments of the Accounts;

                  d.    make decisions and take action with respect to treatment of the
                        Accounts for purposes of compliance with the Internal Revenue
                        Code and any applicable state or local tax codes, including
                        creating reports, maintaining and reporting income relating to
                        the Accounts, if any, and to ensure the Accounts are maintained

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                        in a Qualified Settlement Fund (QSF) or such other entity as he
                        deems appropriate;

                 e.     purchase and maintain reasonable amounts and types of
                        insurance for errors and omissions or fidelity bonds out of the
                        assets of the Accounts;

                 f.     procure, upon consultation with the Plaintiffs’ Executive
                        Committee (“PEC”), professional accounting, legal, and other
                        services for the purposes of carrying out the tasks described in
                        this Order, and to be reimbursed for the expenses of such
                        services; and,

                 g.     adopt and implement reasonable procedures consistent with this
                        Order in consultation with the PEC.

          9.     Unless otherwise agreed to by Defendants and the PEC, the details of

    any individual settlement agreement, individual settlement amount, and/or

    individual amounts deposited into escrow shall be confidential and shall not be

    disclosed by the Administrator of the Accounts to the PEC, PSC, the Court, or the

    Court's designee, unless the Court requests that it receive that information in camera.

    Monthly statements from the Administrator shall, however, be provided to the PEC

    and the Court showing the aggregate of the monthly deposits, disbursements, interest

    earned, financial institution charges, if any, and the current balance of the Accounts.

          C.     REQUIREMENTS OF THE ESCROW AGENT

          10.    The Escrow Agent shall be a commercial bank which: (1) has deposits

    insured by the Federal Deposit Insurance Corporation; (2) is organized under the

    laws of the United States, or any state thereof; and, (3) has a total risk-based capital

    in excess of $5 billion and meets the minimum risk-based ratios established under

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    the Federal Deposit Insurance Corporation Improvement Act of 1991. The Escrow

    Agent may act as paying agent, depository, custodian, or trustee with respect to funds

    it holds.

           11.   The Administrator of the Accounts shall consider, in designating the

    Escrow Agent and in procuring professional services, the charges that the Escrow

    Agent or provider of professional services will impose for its actions and the ability

    of the Escrow Agent or provider of professional services to undertake the tasks called

    for with efficiency and responsiveness.

           12.   The Escrow Agent shall not acquire or hold for longer than 90 days,

    any debt securities, certificates, or investments unless such instruments are a U.S.

    Treasury Bill, U.S. Treasury Money Market, U.S. Government Money Market or

    similar type of account guaranteed by the United States or an agency thereof,

    including an FDIC-Insured Account. The U.S. Treasury Money Market or U.S.

    Government Money Market must be registered under the Investment Company Act

    of 1940, as amended. In determining investments to be held by the Escrow Agent,

    primary regard shall be given by the Escrow Agent to the safety of the principle.

           13.   The reasonable fees and reasonable expenses incurred in connection

    with the services of the Administrator and the Escrow Agent shall be chargeable

    against the Accounts. However, until this Court permits the filing of a Petition for

    approval of fees and expenses to be paid from the Accounts, the reasonable fees and



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 reasonable expenses of the Administrator and Escrow Agent shall be paid as Shared

 Common Benefit Expenses from the PEC-MDL No. 2738 MDL Litigation Account.

 See CMO 7 (II)(D)(2). On a monthly basis, the Administrator and Escrow Agent

 shall each provide the PEC with statements for their reasonable fees and reasonable

 expenses charged. When this Court authorizes the filing of a Petition, the reasonable

 fees and expenses of the Administrator and Escrow Agent that were previously paid

 as Shared Common Benefit Costs may be included as items for reimbursement from

 the Accounts. The Petition shall include copies of the statements of the

 Administrator and Escrow Agent that had been submitted on a monthly basis to the

 PEC to support the request for reimbursement of such payments made by the PEC

 for which reimbursement is requested.

 IV.   ATTORNEY PARTICIPATION AGREEMENT AND ELIGIBLE
       PARTICIPATING COUNSEL

       A.       PARTICIPATION AGREEMENT

       14.      The Participation Agreement (throughout as "Agreement”) attached as

 Exhibit A is approved by the Court for signature by attorneys for the purposes set

 forth below.

       15.      The Agreement may be entered into by Plaintiffs' attorneys on a

 voluntary basis. The Agreement is a private and cooperative agreement between the

 PEC, PSC, and Plaintiffs’ attorneys only. It is not an agreement with any of the

 named Defendants.

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       16.    Plaintiffs’ attorneys who execute the Agreement or are deemed to have

 executed the Agreement are hereinafter referred to as “Participating Counsel.”

 Plaintiffs’ attorneys who do not execute the Agreement and who are not deemed

 signatories to the Agreement are hereinafter referred to as “Non-Participating

 Counsel.”

       17.    Participating Counsel are entitled to access the Common Benefit Work

 Product for the use and benefit of clients with cases filed in this MDL or any other

 court of competent jurisdiction, and in all unfiled ovarian cancer cases and claims,

 including those for which a tolling agreement exists. All ovarian cases and claims of

 a Participating Counsel shall be assessed whether the claim/case is filed or unfiled.

 All claims/cases in which a Participating Counsel has a fee interest shall be assessed.

       18.    Non-Participating Counsel shall have no right of access to the Common

 Benefit Work Product. However, in the event it is determined that Non-Participating

 Counsel in some or any fashion benefitted from the Common Benefit Work Product

 or the administrative functions of the PEC and PSC, then all cases in which Non-

 Participating Counsel has an interest shall be subject to the common benefit

 assessment described in this Order. It is deemed that the fair liquidated damages for

 such unauthorized use of the Common Benefit Work Product is equal to the

 assessment percentage set by this Order on the cases and claims that shall be assessed

 pursuant to the Agreement, and in addition, the Court will consider an application



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 by the PEC for payment of its fees and costs to enforce this Order with respect to

 any unauthorized procurement and/or use of the Common Benefit Work Product.

        19.    In support of its efforts to track all cases and claims subject to the

 assessment, the PEC may periodically request that attorneys who are subject to the

 assessment provide a list of all cases filed, no matter in what jurisdiction, and a list

 of all claims of clients represented or in which they have a fee interest regardless of

 filing or tolling status.

        20.    The “Common Benefit Work Product” includes all work performed for

 the benefit of all plaintiffs, including pre-trial matters, the Daubert proceedings,

 discovery, Bellwether work-up, trial preparation, potential settlement process(es),

 and all other work that advances this litigation to conclusion.

        21.    The Court recognizes the jurisdictional rights and obligations of the

 state courts to conduct their state court litigation as they so determine, and that the

 state court litigations include counsel who are Participating Counsel.

        22.    PEC and PSC members are deemed Participating Counsel by virtue of

 their membership on the PEC and/or PSC, regardless of whether that attorney signs

 the Agreement. Additionally, any counsel that may be appointed by this Court to act

 as liaisons between the state courts and the MDL are deemed Participating Counsel




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 by virtue of this appointment, regardless of whether that attorney signs the

 Agreement.1

 V.    ASSESSMENTS AND PAYMENTS INTO THE ACCOUNTS

       A.      EARLY PARTICIPATION

       23.     In order for an attorney to qualify for the “Early Participation”

 assessment amount, the attorney must enter into the Agreement within 45 days of

 the entry of this CMO 7(A) if the attorney already has a case pending in the MDL at

 the time of the entry of CMO 7(A) or if no case is pending in the MDL at the time

 of the entry of CMO 7(A), within 45 days of the first case of the attorney being

 docketed in the MDL or any other jurisdiction. All attorneys who are deemed to be

 bound by the Agreement shall also be assessed at the Early Participation assessment

 percentage. The Early Participation assessment shall be 8% (6% for fees and 2% for

 expenses) of the Gross Monetary Recovery.



 1
   The Court is aware there is one exception that the PSC has disclosed to the Court.
 The Lanier Law Firm, which is a member of the PEC, had tried to a verdict the case
 of Ingham, et al. v. Johnson & Johnson, et al., Cause No. 1522-CC10417-01 (Circ.
 Court of City of St. Louis, Missouri). The Court understands that upon discussion
 by all members of the PSC, the PSC has unanimously agreed with The Lanier Law
 Firm, that the Ingham case will not be subjected to the MDL assessment, except any
 portion of the case that comes into the MDL following a decision by the Missouri
 appellate court. The PSC also agreed with The Lanier Law Firm that all other cases
 in which The Lanier Law Firm has an interest – MDL, state, filed, and unfiled – will
 be assessed and that Ingham-related expenses and hours will not qualify for common
 benefit consideration unless the case comes into the MDL and is assessed.


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      B.     LATE PARTICIPATION

       24.      For any attorney who does not qualify for Early Participation as defined

 above by entering into the Agreement within the deadline that is applicable to that

 attorney as established for Early Participation, and who enters into this Agreement

 after the deadline that is applicable to the attorney for Early Participation, the

 assessment that shall apply to the cases/claims of such attorney shall be 12% (10%

 for fees and 2% for expenses) of the Gross Monetary Recovery (“Late

 Participation”).

       C.       ASSESSMENT ALLOCATION

           25. The assessment shall be provisionally allocated as follows:

                a.    For Early Participation as defined in paragraph 23 above, six
                      percent (6%) to compensate for Common Benefit Fees, and two
                      percent (2%) to compensate for Common Benefit Expenses, with
                      said ratio subject to the right of the PEC of this MDL to request
                      reallocation of the eight percent (8%) total assessment to an
                      increase in percentage for expenses or fees at the time the
                      application for disbursement is made.

                b.    For Late Participation as defined in paragraph 24 above, ten
                      percent (10%) to compensate for Common Benefit Fees, and two
                      percent (2%) to compensate for Common Benefit Expenses, with
                      said ratio subject to the right of the PEC of this MDL to request
                      reallocation of the twelve percent (12%) total assessment to an
                      increase in percentage for expenses or fees at the time the
                      application for disbursement is made.




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       D.     CALCULATING THE ASSESSMENT

       26.    For any attorney subject to an assessment under the terms of this Order,

 the assessment is owed on the "Gross Monetary Recovery" on all of that attorney's

 cases or claims. Defendants' responsibility to withhold or pay the assessment in any

 particular case and their other obligations with respect to this Order is governed by

 paragraphs 30 through 36 below.

       27.    A Gross Monetary Recovery occurs when a Plaintiff or their attorney(s)

 either agree or have agreed – for monetary consideration – to settle, compromise,

 dismiss, or reduce the amount of a claim or, with or without trial, recover a judgment

 for monetary damages or other monetary relief, including compensatory and

 punitive damages (hereinafter a “Settlement”), with respect to any Talcum Powder

 Product claim.

       27.    “Gross Monetary Recovery” includes any and all amounts paid to

 Plaintiffs by Defendants through a settlement or pursuant to a judgment. In

 measuring the “Gross Monetary Recovery,” the term is defined as follows: (1) it

 includes all sums to be paid in settlement of the Talcum Powder Products claim/case.

 To the extent the Plaintiff or claimant has a Medicare, Medicaid, or other private

 lien asserted against the Plaintiff or claimant, and the lien is resolved from the funds

 recovered by the Plaintiff or claimant, then such amounts that are used to satisfy the

 lien are included as part of the Gross Monetary Recovery; (2) it includes the present



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 value of any fixed and certain payments to be made in the future, such as those that

 come about as a result of a structured settlement of a claim. This provision means

 that if the Plaintiff or claimant elects to resolve the case or claim through the

 establishment of a structured settlement or through a resolution that involves

 payments to be made to the Plaintiff or claimant over time, Gross Monetary

 Recovery means the present value of the amount of the settlement or to be paid in

 resolution of the case or claim at the time of the settlement or resolution of the case

 and not the total of the payments being made over time; and (3) excludes court costs

 that are to be paid by Defendant(s).

       28.    This assessment represents a hold back pursuant to In re Zyprexa Prods.

 Liab. Litig., 467 F.Supp.2d 256, 266 (2d. Cir. 2006), and shall not be altered in any

 way unless each of the following occurs: (1) the PSC is consulted and provided an

 opportunity to be heard at a formally announced meeting prior to the filing of any

 motion to change the assessment amount; (2) the PSC approves the proposed change

 to the assessment by a majority vote of the PSC; (3) a noticed motion (including

 notice to Defendants’ Counsel) with an opportunity to be heard is granted by the

 Court, and (4) this Court, upon good-cause shown, amends this Order.

       E.     DEFENDANTS’ OBLIGATIONS

       29.    Defendants and their counsel shall not distribute any settlement

 proceeds to Plaintiff's counsel or directly to a Plaintiff until after: (1) Defendants’



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 counsel notifies the PEC in writing of the existence of a settlement and the name of

 the individual Plaintiff’s attorney (without disclosing the amount of the settlement);

 and, (2) the PEC advises Defendants’ counsel in writing whether the individual

 Plaintiff’s attorney’s cases are subject to an assessment and the amount (stated as a

 percentage of the recovery) of the assessment pursuant to this Order. Defendants’

 Liaison Counsel shall be permitted to share this information with the PEC, who shall

 otherwise keep this information confidential.

       30.    For cases subject to an assessment,2 Defendants are directed to withhold

 an assessment from any and all amounts paid to Plaintiffs and their counsel and to

 pay the assessment directly into the Accounts based on the allocations and provisions

 set forth in Paragraph 25 through Paragraph 29, above as a credit against the

 settlement or judgment. No orders of dismissal of any Plaintiff’s claim, subject to

 this Order, shall be entered unless accompanied by a certificate of Plaintiff’s and



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   The Court recognizes that at the time of entry of this Order, it has jurisdiction only
 over Defendants Johnson & Johnson; Johnson & Johnson Consumer, Inc and PCPC,
 in that Talcum Powder Products cases and claims that are pending against Defendant
 Imerys are now part of the proceedings against Imerys in the United States
 Bankruptcy Court in Delaware. The Court is advised that in those bankruptcy court
 proceedings, there is a Tort Claimants Committee which, inter alia, is representing
 the interests of the Talcum Powder Product Claimants in that bankruptcy. To the
 extent those bankruptcy proceedings result in a recovery for Talcum Powder Product
 Claimants, the Court will address (to the extent appropriately addressed in this MDL
 litigation) whether and how any recovery in the Imerys bankruptcy should be
 assessed pursuant to a process to be established by the bankruptcy court, possibly in
 conjunction with this MDL Court.

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 Defendants’ counsel that the assessment, where applicable, will be withheld and will

 be deposited into the Accounts at the same time the settlement proceeds are paid to

 settling counsel. If for any reason the assessment is not or has not been so withheld,

 the Plaintiff and their counsel are jointly responsible for paying the assessment into

 the Accounts promptly.

       31.    Upon payment of the assessment into the Accounts, Defendants, as well

 as the PEC and PSC, and individual members of the same, shall be released from

 any and all liability to any person, attorney, or claimant with respect to the

 assessment placed into the Accounts. Any person, attorney, or claimant allegedly

 aggrieved by an assessment pursuant to this Order shall seek recourse against the

 Accounts only, provided however, that notice and an opportunity to be heard shall

 be given to both the Defendants and the PEC/PSC.

       32.    This Order shall not affect or encumber any obligation of Defendants

 to pay attorneys' fees and costs pursuant to consumer fraud claims or other fee

 shifting statutes, if any, that may apply in this case.

       33.    Nothing in this Order is intended to impair the attorney-client

 relationship or any lawful contingency fee contract under the attorneys' respective

 bar rules and/or state court orders.

       34.    In the event of a litigation-wide global settlement, and/or a partial or

 full inventory settlement with an individual law firm, or other settlement program(s)



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 with respect to the cases or claims in the litigation, including a settlement program(s)

 that also includes unfiled claims and/or cases filed in any state court, such as a global

 private settlement program, a settlement class action, or any other form of a global

 settlement, nothing in this Order prohibits the PEC/PSC from applying to this Court

 for attorneys' fees and reimbursement of expenses at a percentage that is different

 from (greater or lesser) than the assessment percentage described herein, e.g., the

 assessment set forth in paragraphs 25 or 26 above, and in the event of any such

 litigation-wide/global settlement, the Court shall make a determination of the

 amount of fees and expenses to be awarded.

       35.    Counsel for each Defendant shall provide at least quarterly notice to the

 Court or its designee the names and docket numbers of the cases and claims for

 which it has paid an assessment into the Accounts since the last such report. A report

 is not due if there are no payments made into the Accounts by that Defendant during

 that quarter. Details of any individual settlement agreement, individual settlement

 amount, and individual amounts deposited into escrow shall be confidential and shall

 not be disclosed by the Administrator to Plaintiffs’ Co-Lead Counsel, Liaison

 Counsel, the PEC, the Court, or the Court’s designee, unless the Court requests that

 it receive that information. Monthly statements from the Administrator shall,

 however, be provided to Plaintiffs’ Co-Lead Counsel, Liaison Counsel, the PEC, and

 the Court showing only the aggregate amount of the monthly deposits,



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 disbursements, interest earned, financial institution charges, if any, and the current

 balance.

 V.    COMMON BENEFIT WORK

       A.     QUALIFIED COMMON BENEFIT WORK ELIGIBLE FOR
              REIMBURSEMENT
       36.    Only Participating Counsel are eligible for reimbursement for time and

 efforts expended for the Common Benefit. Participating Counsel shall be eligible for

 reimbursement for time and efforts expended for Common Benefit work, if said time

 and efforts are:

              a.    for the Common Benefit;

              b.    appropriately authorized, as defined in this Order, and CMO 7;

              c.    timely submitted;

              d.    certified by a senior partner of the submitting firm each month
                    attesting to the accuracy and correctness of the monthly
                    submission; and,

              e.    approved by this Court.

       37.    There is no guarantee that all of the time submitted by any firm will be

 compensated, and the hourly rate for the work that is compensated is not guaranteed.

       B.     COMPENSABLE COMMON BENEFIT WORK DEFINED

       38.    As the litigation progresses and Common Benefit Work Product

 continues to be generated, the PEC, and Co-Chairs of the MDL committees with the

 pre-approval of the PEC, will assign Participating Counsel with such work. In the



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 MDL, Common Benefit work shall include only work specifically assigned to

 Participating Counsel by the PEC, as well as work approved by the PEC and assigned

 by the Co-Chairs of the MDL committees. The definition of Common Benefit Work

 is defined in and limited as set forth in CMO 7.

       39.    Examples of Common Benefit work as defined and limited by CMO 7

 include, but are not limited to:

              a.     authorized maintenance and work related to the document
                     depository;

              b.     authorized investigation and research;

              c.     conducting authorized discovery (e.g. reviewing, indexing, and
                     coding documents);

              d.     authorized preparation of timelines/chronologies;

              e.     authorized drafting and filing pleadings, briefs, and pre-trial
                     motions, and orders

              f.     authorized preparation of deposition cuts that may be used in a
                     case set for trial;

              g.     authorized preparation of trial exhibit(s);

              h.     authorized assembly of scientific articles;

              i.     certain approved PEC and PSC activities;

              j.     authorized work of the MDL Discovery, Law and Briefing, and
                     Science Committee Co-Chairs;

              k.     authorized committee work;

              l.     authorized expert development authorized by the Chair of the
                     Science Committee or Co-Lead Counsel;

              m.     authorized State and Federal Court Trials;

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               n.     authorized preparation for and participation at state and federal
                      Court hearings; and,

               o.     authorized preparation for and taking of depositions of
                      Defendants, third-party witnesses, and experts in state or federal
                      court; and, performance of administrative matters, provided that
                      all such work was conducted for the joint and Common Benefit
                      of Plaintiffs in state or federal court.

        40.    Work that is not Common Benefit Work Product, includes but is not

 limited to:

               a.     unauthorized work; and,

               b.     duplicative work.

       C.      AUTHORIZATION AND TIME-KEEPING

        41.    The provision of CMO 7, Section II and III are incorporated herein as

 if set forth in their entirey.

 V.     COMMON BENEFIT EXPENSES

        A.     QUALIFIED COMMON BENEFIT EXPENSES ELIGIBLE FOR
               REIMBURSEMENT

        42.    To be eligible for reimbursement of Common Benefit expenses, said

 expenses must meet the requirements set forth in CMO 7, Section II, which are

 incorporated herein as if set forth in their entirey. Specifically, said expenses must

 be:

               a.     for the Common Benefit;

               b.     appropriately authorized, as set forth in CMO 7, the Agreement,
                      and herein;


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               c.     certified by a senior partner of the submitting firm each month
                      attesting to the accuracy and correctness of the monthly
                      submission; and,

               d.     approved by this Court.

        B.     COMPENSABLE COMMON EXPENSES DEFINED

        43.    As the litigation progresses and Common Benefit expenses of the same

 type and kind as defined and limited in CMO 7 will continue to be incurred,

 authorized and approved by the PEC. Common Benefit expenses shall include only

 authorized and necessary expenses specifically approved by the PEC.

        C.     AUTHORIZATION AND EXPENSE-KEEPING

        44.    The provisions of CMO 7 Section II and III are incorporated herein as

 if set forth in their entirey.

        D.     EXPENSES IN EXCESS OF AMOUNTS AVAILABLE IN THE
               TCBEA

        45.    Any compensable costs or expenses exceeding the amounts available

 in the TCBEA may be paid from the TCBFA upon Order of the Court.

        VI.    EVALUATION OF COMMON BENEFIT TIME AND
               EXPENSES AND COURT APPROVAL REQUIRED FOR ANY
               DISBURSEMENT FROM THE ACCOUNTS

        46.    The amounts deposited in the Accounts shall be available for

 distribution only to Participating Counsel who performed professional services or

 incurred expenses for the common benefit.




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       47.    No amounts will be disbursed without review and approval by the

 Court, or such other mechanism as the Court may order. Specifically, such sums

 shall be distributed only upon Order of the Court in MDL No. 2738.

       48.    At an appropriate time, this Court expects to appoint a Common Benefit

 Fee and Expense Committee for the development of guidelines and criteria that will

 be utilized in connection with recommendations that will be made to this Court to

 govern the content of a Common Benefit fee petition, including the evaluation of all

 time and expense submissions that were made to the Administrator. This Court will

 enter an Order in the future relating to these issues.


                              /s/ Freda L. Wolfson 9/17/2020
                            ________________________________
                            HON. FREDA L. WOLFSON
                            U.S. Chief District Judge




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                  EXHIBIT A
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                                 119486 DISTRICT
                        UNITED STATES
                         COURT DISTRICT OF NEW
                                JERSEY



                                  CIVIL ACTION NO.
  IN RE: JOHNSON & JOHNSON TALCUM 3:16-md-2738-FLW-LGHG
  POWDER PRODUCTS MARKETING,
  SALES PRACTICES, AND PRODUCTS   MDL NO. 2738
  LIABILITY LITIGATION


  THIS DOCUMENT RELATES TO ALL
  CASES



          EXHIBIT A TO CASE MANAGEMENT ORDER NO. 7(A)
                (Common Benefit Participation Agreement)

       THIS AGREEMENT is made this ____ day of _____________, 20__, by

 and between the Plaintiffs’ Steering Committee (“PSC”) appointed by the United

 States District Court for the District of New Jersey in MDL 2738 and

 _________________________________ [Name of the Firm Executing the

 Agreement] (the “Participating Counsel”).

       WHEREAS, the United States District Court for the District of New Jersey

 (MDL 2738) has appointed P. Leigh O’Dell (BEASLEY, ALLEN, CROW,

 METHVIN, PORTIS & MILES, PC); Michelle A. Parfitt (ASHCRAFT & GEREL,

 LLP); Christopher M. Placitella (COHEN PLACITELLA ROTH, PC); Warren T.

 Burns (BURNS CHAREST, LLP); Richard Golomb (GOLOMB & HONIK, PC);

 Richard H. Meadow (THE LANIER LAW FIRM, PC); Hunter J. Shkolnik
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 (NAPOLI SHKOLNIK, PLLC); Laurence S. Berman (LEVIN SEDRAN &

 BERMAN LLP); Timothy G. Blood (BLOOD, HURST & O’REARDON, LLP);

 Sindhu S. Daniel (BARON & BUDD, P.C.); Jeff S. Gibson (WAGNER REESE);

 Kristie M. Hightower (LUNDY, LUNDY, SOILEAU & SOUTH, LLP); Daniel R.

 Lapinski (MOTLEY RICE, LLC); Victoria Maniatis (SANDERS PHILLIPS

 GROSSMAN, LLC); Carmen S. Scott (MOTLEY RICE, LLC); Eric H. Weinberg

 (THE WEINBERG LAW FIRM); Richard L. Root (MORRIS BART, LLC); and

 Christopher V. Tisi (LEVIN PAPANTONIO THOMAS MITCHELL RAFFERTY

 & PROCTOR, P.A.) to serve as members of the Plaintiffs’ Steering Committee

 (“PSC”) to facilitate the conduct of pretrial proceedings in the federal actions

 pending in this MDL case relating to ovarian cancer/death from ovarian cancer

 claims involving Johnson & Johnson’s Baby Powder and/or Shower to Shower

 products (“Talcum Powder Products”), and,

       WHEREAS, the PSC in association with other attorneys working for the

 common benefit of plaintiffs have developed or are in the process of developing

 work product that will be valuable in all proceedings and be of benefit to all plaintiffs

 alleging ovarian cancer injuries, including death, from the Talcum Powder Products

 (“PSC Common Benefit Work Product”) and,




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       WHEREAS, the undersigned Participating Counsel desires to acquire

 the PSC    Common      Benefit   Work     Product   and   establish   an   amicable,

 working relationship with the PSC for the mutual benefit of its clients, and,

       WHEREAS, the undersigned Participating Counsel recognizes that

 those attorneys who: 1) perform work authorized, audited, and approved as

 common benefit; and 2) who incur expenses for the common benefit, have the

 right to seek common benefit compensation and reimbursement of common

 benefit expenses;

       NOW THEREFORE, in consideration of the covenants and promises

 contained herein, and intending to be legally bound hereby, the parties agree as

 follows:

I.     SCOPE AND PURPOSE OF AGREEMENT

       1.     This Participation Agreement (“Agreement”) is a private cooperative

 agreement between plaintiffs’ attorneys who, by their execution of this Agreement

 (or are deemed to have executed this Agreement), are Participating Counsel, who

 will gain access by executing this Agreement to the “PSC Common Benefit Work

 Product” with regard to personal injury claims involving ovarian cancer injuries,

 including death, from the Talcum Powder Products, pursuant to Case Management

 Orders No. 7 and 7(A), and any amendments thereto, Establishing Common Benefit

 Fee and Expense Fund. Plaintiffs’ attorneys who execute this Agreement

 (“Participating Counsel”) are entitled to receive the “PSC Common Benefit Work



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 Product” created by those attorneys who have also executed or have been deemed to

 have executed the Agreement.

 II.   AGREEMENT TO PAY AN ASSESSMENT ON GROSS RECOVERY

       2.     Subject to the terms of this Agreement and the provisions set forth

 below and the terms of the corresponding CMO 7 and 7(A), and any amendments,

 all Plaintiffs and their attorneys who, either agree or have agreed for a monetary

 consideration to settle, compromise, dismiss, or reduce the amount of a claim or,

 with or without trial, recover a judgment for monetary damages or other monetary

 relief, including such compensatory and punitive damages, with respect to Talcum

 Powder Products claims/cases for ovarian cancer injury/death are subject to an

 assessment of the gross settlement amount, “Gross Monetary Recovery,” as provided

 herein.

       A.     GROSS MONETARY RECOVERY DEFINED

       3.     “Gross Monetary Recovery” includes any and all amounts paid to

 Plaintiffs by Defendants through a settlement or pursuant to a judgment. In

 measuring the “Gross Monetary Recovery,” the parties define the term as follows:

 (1) it includes all sums to be paid in settlement of the Talcum Powder Products

 claim/case. To the extent the Plaintiff or claimant has a Medicare, Medicaid, or other

 private lien asserted against the Plaintiff or claimant, and the lien is resolved from

 the funds recovered by the Plaintiff or claimant, then such amounts that are used to



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 satisfy the lien are included as part of the Gross Monetary Recovery; (2) it includes

 the present value of any fixed and certain payments to be made in the future, such

 as those that come about as a result of a structured settlement of a claim and not

 the total of the payments being made over time; and (3) excludes court costs that

 are to be paid by Defendant(s).

       4.     The assessment shall apply to all of the claims/cases of the Plaintiffs’

 attorneys who are subject to CMO 7(A), and any amendments, that are pending in

 the MDL or state court as well as any unfiled or if applicable, tolled claims/cases (if

 applicable) of such attorneys in which they are counsel or co-counsel, or in which

 they have any interest.



       B.     ASSESSMENT AMOUNT

       6.     Early Participation: In order for an attorney to qualify for the “Early

 Participation” assessment amount, the attorney must enter into this Agreement

 within 45 days of the entry of CMO 7(A) if the attorney already has a case pending

 in the MDL at the time of the entry of CMO 7(A) or if no case is already pending in

 the MDL at the time of the entry of CMO 7(A), within 45 days of the first case of

 the attorney being docketed in the MDL or any other jurisdiction. All attorneys who

 are deemed to be bound by the Agreement shall also be assessed at the Early

 Participation assessment percentage. The Early Participation assessment shall be 8%

 (6% for fees and 2% for expenses) of the Gross Monetary Recovery (“Early



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 Participation”).

       7.     Late Participation: For any attorney who does not qualify for Early

 Participation as defined above by entering into this Agreement within the deadline

 that is applicable to that attorney as established for Early Participation, and who

 enters into this Agreement after the deadline that is applicable to the attorney for

 Early Participation, the assessment that shall apply to the cases/claims of such

 attorney shall be 12% (10% for fees and 2% for expenses) of the Gross Monetary

 Recovery (“Late Participation”).

       8.     This assessment represents a hold back pursuant to In re Zyprexa Prods.

 Liab. Litig., 467 F.Supp.2d 256, 266 (2d. Cir. 2006), and shall not be altered in any

 way unless each of the following occurs: (1) the PSC is consulted and provided an

 opportunity to be heard at a formally announced meeting prior to the filing of any

 motion to change the assessment amount; (2) the PSC approves the proposed change

 to the assessment by a majority vote of the PSC; (3) a noticed motion (including

 notice to Defendants’ Counsel) with an opportunity to be heard is granted by the

 Court; or (4) the Court, upon good-cause shown, amends CMO 7(A).

       C.     COVERED CLAIMS/CASES

       9.     Counsel who sign (or who are deemed to have signed) this Agreement

 consent that the assessment shall apply to all the attorneys’ ovarian cancer

 injury/death claims and cases that arise from the Talcum Powder Products including



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 all un-filed claims/cases, tolled (if applicable) claims/cases, and/or claims/cases filed

 in state court in which they have a fee interest, regardless of the size of that fee

 interest. The members of the PSC and their law firms are each deemed to have signed

 this Agreement and they are deemed qualified for the Early Participation assessment.

       D.     RIGHTS AND              OBLIGATIONS           OF      PARTICIPATING
              COUNSEL

       10.    Upon execution of this Agreement, the PSC will provide Participating

 Counsel, with access to the Common Benefit Work Product defined in the Court’s

 CMO 7 and 7(A), and any amendments to which this Exhibit “A” is attached,

 including access to the document depository as well as all the coding and

 summarizing of the documents in the depository, access to all deposition transcripts

 and summaries, deposition cuts for the purpose of trial, medical literature library,

 legal briefing and research, and, as deemed appropriate by the PSC, expert witness

 work product. Participating Counsel agree that all cases in which Participating

 Counsel has a fee interest, including unfiled cases, tolled cases, and/or cases filed in

 state and/or federal court, are subject to the terms of this Agreement.

       11.    The PSC may periodically request that Participating Counsel produce a

 list that accurately sets forth the name of each Talcum Powder Product client

 represented by such counsel (whether a case has or has not been filed for such client)

 and/or in which they have an interest in the attorneys’ fee regardless of what that

 interest is, together with the Court and docket number (if filed) of each such case.

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 Participating Counsel shall provide the first such list within 45 days of signing this

 Agreement at participatingcounsel@talc-mdl.com. Thereafter, unless otherwise

 specified, Participating Counsel shall provide updated lists within 30 days of the

 request. All such lists shall be provided to Plaintiffs’ Co-Lead Counsel in the MDL,

 P. Leigh O’Dell and Michelle A. Parfitt at the email address above.

       E.     ATTORNEY FEE LIEN

       12.    With respect to each client who a Participating Counsel represents in

 connection with Talcum Powder Product-related ovarian cancer-cases or related

 claims that are filed or pending in any federal court, un-filed or subject to a tolling

 agreement, consistent with CMO 7(A), each Participating Counsel shall agree to

 have Defendants deposit or cause to be deposited in the Talc Common Benefit Fee

 Account (“TCBFA”) and the Talc Common Benefit Expense Account (“TCBEA”),

 established by the District Court in the MDL, a percentage proportion of the Gross

 Monetary Recovery recovered by each such client that is equal to the assessment

 amount, e.g., for an Early Participation client, 6% to the TCBFA and 2% to the

 TCBEA and for a Late Participation client, 10% to the TCBFA and 2% to the

 TCBEA. In the event Defendants do not deposit such funds into the TCBFA and the

 TCBEA, Plaintiff and Plaintiff’s Participating Counsel shall deposit or cause to be

 deposited in the TCBFA and the TCBEA established by the District Court in the




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 MDL, a percentage proportion of the Gross Monetary Recovery recovered by each

 such client that is equal to the assessment amount.

       13.    Each Participating Counsel shall inform Defendants of the fact that the

 counsel is a “Participating Counsel” to this Agreement to facilitate the Defendants

 making the deposits into the TCBFA and TCBEA. Each Participating Counsel shall

 also advise Defendants whether the counsel is an Early Participation counsel or a

 Late Participation counsel. Defendants shall then deposit into the TCBFA and

 TCBEA the amount calculated by the assessment percentage based on whether the

 Participating Counsel is an Early Participation counsel or a Late Participation

 Counsel.

       14.    Participating Counsel, on behalf of themselves, their affiliated counsel,

 and their clients, hereby grant and convey to the PSC a lien upon and/or a security

 interest in any fee generated as a result of any recovery by any client who they

 represent in connection with any Talcum Powder Product induced ovarian

 cancer/death case or claim, to the full extent permitted by law, in order to secure

 payment in accordance with the provisions of this Agreement.

       15.    Participating Counsel will undertake all actions and execute all

 documents that are reasonably necessary to effectuate and/or perfect this lien and/or

 security interest.




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       16.    Participating Counsel also, on behalf of themselves, their affiliated

 counsel, and their clients, hereby grant and convey to the PSC a lien upon and/or a

 security interest in any fee generated as a result of any recovery by any client who

 they represent in connection with any Talcum Powder Product induced ovarian

 cancer/death case or claim, to the full extent permitted by law, in order to secure

 payment in accordance with the provisions of this Agreement, that arises from any

 recovery the Participating Counsel achieves for any Talcum Powder Product client

 from the Imerys Bankruptcy proceeding. In this regard, Participating Counsel shall

 inform the Trustee in bankruptcy for Imerys of the fact that the Participating Counsel

 is bound by the terms of this Agreement, and provide a copy of this Agreement to

 said Trustee so that the Trustee shall be able to comply with the terms of this

 Agreement by imposing the assessment relating to any fee that the Trustee would be

 paying to the Participating Counsel so that such assessment shall be paid by the

 Trustee into the TCBFA and TCBEA. Participating Counsel shall inform the Trustee

 whether the Participating Counsel is an Early Participation Counsel or a Late

 Participation Counsel so that the Trustee shall be able to deposit the appropriate

 amount into the TCBFA and TCBEA.

       17.    In the event the Trustee in bankruptcy for Imerys fails to make the

 appropriate deposit into the TCBFA and TCBEA for the Participating Counsel, the

 Participating Counsel and his/her client remain personally liable to make the



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  appropriate deposit into the TCBFA and TCBEA based on the amount of the

  recovery that the client obtains in the Imerys bankruptcy proceedings for any Talcum

  Powder Product induced ovarian cancer/death case or claim.

        18.    Participating Counsel will undertake all actions and execute all

  documents that are reasonably necessary to effectuate and/or perfect the lien and/or

  security interest relating to any recovery arising out of the Imery Bankruptcy

  proceeding relating to any Talcum Powder Product induced ovarian cancer/death

  case or claim.

II.     COMMON BENEFIT EXPENSES

        A.     QUALIFIED EXPENSES ELIGIBLE FOR REIMBURSEMENT

        19.    In order to be eligible for reimbursement, expenses (“Common Benefit

  Expenses”) must meet the requirements of CMO 7 and CMO 7(A) and any

  amendments thereto. Specifically, said expenses must be (a) for the common benefit,

  (b) appropriately authorized by the PEC and timely submitted, (c) within the defined

  limitations set forth in this Agreement and CMO 7 and CMO 7(A) and any

  amendments thereto , and (d) verified by a partner or shareholder in the submitting

  law firm.

        B.     AUTHORIZATION AND SUBMISSION OF EXPENSES

        20.    Participating Counsel must submit expenses consistent with CMO 7

  and CMO 7(A), and any amendments.Expenses incurred on matters common to all



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  claimants in MDL 2738 and authorized by the MDL PEC may be submitted for

  reimbursement.

        21.    No costs spent on developing or processing individual issues in any

  case for an individual client (claimant) will be considered or should be submitted,

  unless that case is an authorized bellwether trial case.

        C.     VERIFICATION/CERTIFICATION

        22.    Attorneys agree to keep receipts for all expenses. Credit card receipts

  with back-up receipts are an appropriate form of verification so long as accompanied

  by a declaration from counsel that work was performed and paid for the common

  benefit.

        23.    Cost and expense records shall be electronically submitted to Alan B.

  Winikur, CPA/ABV/CFF electronically at the website set up to handle time/billing

  submissions https://johnsonandjohnsontalcmdl.securefilepro.com/portal/login.aspx.

  It is essential that each firm, on a monthly basis, timely submit its records for the

  preceding month. All submissions shall be certified by a senior partner in each firm

  attesting to the accuracy and correctness of the submission. Untimely submission of

  Expense/Cost records will result in a waiver of said costs. Submission of cost and

  expense records does not entitle the attorney to reimbursement of costs and expenses

  submitted, as the submission shall be subject to audit and no disbursements shall be

  made from the TCBEA without a Court Order authorizing same.



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III.     COMMON BENEFIT WORK

         A.     QUALIFIED COMMON BENEFIT WORK ELIGIBLE FOR
                REIMBURSEMENT

         24.    In order to be eligible for reimbursement, time and efforts expended for

   common benefit work must meet the requirements set forth in CMO 7 and CMO-

   7(A) and any amendments. Specifically said time and efforts must be: (a) for the

   common benefit, (b) appropriately authorized by the PEC, (c) timely submitted, and

   (d) approved by the Court. (“Common Benefit Work Product”).

         B.     ELIGIBILITY

         25.    Participating Counsel are prohibited from sharing Common Benefit

   Work Product with Non-Participating Counsel. Any counsel who is not a

   Participating Counsel, as defined herein, shall be a Non-Participating Counsel.

   Counsel eligible to perform common benefit work includes Plaintiffs’ Liaison

   Counsel, Co-Lead Counsel, members of the PEC and PSC, Co-Chairs of MDL

   Committees, and other Participating Counsel called upon and authorized by them to

   assist in performing their responsibilities.

         C.     AUTHORIZATION

         26.    Time spent on matters common to all claimants in MDL 2738 must be

   assigned by the PEC to be eligible for consideration for common benefit. No time

   spent on developing or processing individual issues in any case for an individual




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 client (claimant) (with the exception of selected Bellwether cases) will be considered

 or should be submitted, nor will time spent on unauthorized and unapproved work.

       27.    For examples of authorized and unauthorized work please review

 CMO- 7 and CMO 7(A) and any amendments thereto.

 V.    COMMON    BENEFIT                TIME-KEEPING            AND        EXPENSE
       PROTOCOLS

       28.    As set forth in CMO 7 and CMO 7(A), and any amendments, all time

 must be accurately and contemporaneously maintained. Participating Counsel agrees

 to follow the time-keeping protocols set forth in CMO 7 and CMO 7(A) and any

 amendments.

       29.    Participating Counsel shall keep a daily record of their time spent in

 connection with common benefit work on this litigation, indicating with specificity

 the hours and particular activity (such as “conducted deposition of John Doe.”).

       30.    Time-entries that are not sufficiently detailed may not be considered for

 common benefit payments.

       31.    All common benefit work time for each firm shall be maintained in a

 tenth-of-an-hour increment.

       32.    Upon order of the Court payments may be made from the TCBFA and

 the TCBEA to Participating Counsel who provide services or incur expenses for the

 joint and common benefit of plaintiffs. The provision of services or incurring

 expenses for their own client or clients does not disqualify a Participating Counsel

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 from being eligible to share in any disbursement from the TCBEA and TCBFA, but

 such time and expenses relating to individual claims shall not be included in

 determining the amount of common benefit work and expenses incurred by the

 Participation Counsel unless the individual client becomes a Bellwether Plaintiff for

 the litigation. Attorneys eligible are limited to the MDL PEC, PSC, Liaison Counsel

 and other Participating Counsel called upon by them to assist in performing their

 responsibilities. These guidelines are intended for all activities performed and

 expenses incurred by counsel that relate to matters common to all claimants in MDL

 2738.

 VI.     DISTRIBUTION OF FEES

         33.   No Individual Rights to the Funds: No party or attorney has any

 individual right to any of the funds in the TCBEA or TCBFA except to the extent of

 amounts directed to be disbursed to such person by Order of the MDL Court. These

 funds will not constitute the property of any party or attorney or be subject to

 garnishment or attachment for the debts of any party or attorney except when and as

 directed to be disbursed as provided by court order to a specific person. These

 limitations do not prelude a party or attorney from transferring, assigning, or creating

 a security interest in potential disbursements from the TCBEA or TCBFA if

 permitted by applicable state laws and if subject to the conditions and contingencies

 of this Agreement.



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       34.   Court Approval: The amounts deposited in the TCBFA and the

 TCBEA shall be available for distribution to attorneys who have performed

 professional services or incurred expenses for the common benefit. The MDL Court

 retains jurisdiction over any common benefit award. Each Participating Counsel

 who does common benefit work has the right to present their claim(s) for

 compensation prior to any recommendation to the Court.

       35.   Fee Committee: I understand that at a later date the MDL Court may

 appoint a Fee and Expense Committee to make recommendations to the MDL Court

 on how funds in the TCBFA and the TCBEA should be distributed.


                  AGREEMENT TO BE LEGALLY BOUND


  Dated:      ___________, 20____

                                       _______________________________
                                       Firm Name:
                                       Attorney’s Name:

  I elect to be a Participating Counsel and hereby certify that I am signing this
  Participation Agreement voluntarily. I also certify that have the authority and
  power to bind my law firm into this Participation Agreement.


       ON BEHALF OF THE PLAINTIFFS’ STEERING COMMITTEE


  Dated:      ___________, 20____
                                       _______________________________
                                       NEED TO ADD NAME HERE


                                        16
